           Case 2:21-cv-00754-MLP          Document 38         Filed 10/03/22    Page 1 of 42




 1                                                       HONORABLE MICHELLE L. PETERSON

 2

 3

 4

 5

 6

 7                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WASHINGTON
 8
     NANNETTE BASA, an individual,                       Case No. 2:21-cv-00754 MLP
 9
                       Plaintiff,                        DECLARATION OF EMMA
10                                                       KAZARYAN IN SUPPORT OF
            v.                                           DEFENDANT BRAND SHARED
11                                                       SERVICES, LLC’S RESPONSE IN
     BRAND SHARED SERVICES, LLC, a                       OPPOSITION TO PLAINTIFF’S
12   Delaware corporation,                               MOTION TO COMPEL
13                     Defendant.                        HEARING DATE:
                                                         October 7, 2022
14

15
            I, Emma Kazaryan, hereby declare:
16
            1.      I am one of the attorneys of record for Defendant Brand Shares Services, LLC
17
     (“Brand”) in the above-captioned matter. I am over the age of eighteen and competent to testify
18
     in this matter. I base this declaration on my personal knowledge and on my review of the file
19
     maintained by my law firm in connection with this matter. That file is kept in the ordinary
20
     course of business and is timely and regularly updated.
21
     Case Background
22
            2.      As Plaintiff concedes, Brand terminated Plaintiff as part of a layoff in December
23
     2020. She has admitted in deposition that the work she was doing was being outsourced to an
24
     outside vendor, that nobody at Brand ever made any ageist or racist comments to her, and that
25

26   DECLARATION OF EMMA KAZARYAN IN SUPPORT OF                                   SEYFARTH SHAW LLP
     DEFENDANT’S RESPONSE IN OPPOSITION TO PLAINTIFF’S                              999 Third Avenue
     MOTION TO COMPEL - 1                                                                Suite 4700
                                                                                 Seattle, WA 98104-4041
     (CAUSE NO. 2:2-CV-00754 MLP)                                                     (206) 946-4910
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 1   Brand made other retention and hiring decisions that contradict her specious discrimination

 2   claims. Attached to my declaration as Exhibit A are true and correct excerpts from Plaintiff’s

 3   deposition transcript.

 4           3.      Attached to my declaration as Exhibit B are true and correct copies of text

 5   messages that Plaintiff produced in the course of discovery wherein she talks about not being in a

 6   rush to find a job following her layoff because she is collecting unemployment benefits and

 7   enjoying being a “trophy wife.”

 8           4.      Plaintiff was unemployed for about a year before she fully mitigated her damages.

 9   During that time, she did contract work that offsets her economic damages. True and correct

10   copies of Plaintiff’s discovery responses stating the same are attached to my declaration as

11   Exhibit C.

12   Discovery in this Case

13           5.      In the course of discovery in this case, Plaintiff has propounded five sets of

14   discovery requests comprised of 14 interrogatories and 19 requests for production.

15           6.      In response to Plaintiff’s extensive discovery requests, Brand has produced

16   62,456 pages of documents, the vast majority of which are emails that Brand duly preserved.

17           7.      Brand has also cooperated with the seven depositions Plaintiff has already taken
18   in this case.

19           8.      In addition to the depositions that have already been taken, Plaintiff is seeking

20   five additional depositions (including a multi-topic CR 30(b)(6) deposition).

21           9.      At Plaintiff’s counsel’s request, we have had at least nine discovery conferences

22   in the course of this case:
                   January 6, 2022
23
                   February 23, 2022
24                 April 18, 2022
                   June 7, 2022
25                 July 27/July 28, 2022 (continuation of conference from previous day)
26   DECLARATION OF EMMA KAZARYAN IN SUPPORT OF
     DEFENDANT’S RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION                          SEYFARTH SHAW LLP
     TO COMPEL - 2                                                                       999 Third Avenue
                                                                                              Suite 4700
     (CAUSE NO. 2:21-CV-00754 MLP)                                                    Seattle, WA 98104-4041
                                                                                           (206) 946-4910
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 1                  August 5, 2022
                    August 30, 2022
 2
                    September 8, 2022 (conference immediately following deposition)
 3                  September 27, 2022

 4   Privilege Log
 5          10.      On September 9, 2022, I provided Plaintiff’s counsel with a privilege log.

 6   Attached to my declaration as Exhibit D is a true and correct copy of the privilege log.

 7          11.      On September 12, 2022, Plaintiff’s counsel requested additional information

 8   regarding the privilege log. He wrote:

 9          This not adequate. With regards to the privileged communications on or around
10          December 4, 2020, please provide the names of the lawyers and the names of the
            Brand representatives who were privy (either as addressees or ccs) on the
11          communications along with the mode of communication (e.g. emails, Teams, texts)
            and the dates.
12
     Attached to my declaration as Exhibit E is a true and correct copy the email from Plaintiff’s
13
     counsel.
14

15          12.      On September 19, 2022, Plaintiff’s counsel emailed again regarding the privilege

16   log issue. He did not request a discovery conference at that time or indicate that he would be
17   filing a motion to compel. Attached to my declaration as Exhibit F is a true and correct copy the
18
     email from Plaintiff’s counsel.
19
            13.       On September 22, 2022, Plaintiff’s counsel filed a motion to compel related to
20
     the privilege log.
21

22          14.      On September 27, 2022, I provided Plaintiff’s counsel with a supplemental

23   privilege log that included the information requested. Attached to my declaration as Exhibit G

24   is a true and correct copy of the supplemental privilege log.
25          15.      On September 28, 2022, Plaintiff’s counsel indicated that if the document at issue
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                                                                                            Suite 4700
     (CAUSE NO. 2:21-CV-00754 MLP)                                                  Seattle, WA 98104-4041
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 1   was produced, he would seek to take the deposition of Brand’s former in-house counsel to
 2   inquire about the legal advice she provided regarding this document.
 3
              16.   On October 3, 2022, following the Court’s order requiring the parties to meet and
 4
     confer, counsel for Plaintiff and Brand met and conferred about the supplemental privilege log.
 5
     During that call, my colleague Helen McFarland asked Plaintiff’s counsel what further
 6

 7   information was necessary and why Plaintiff’s counsel was insisting on seeking this privileged

 8   communication. Plaintiff’s counsel responded that he was looking for “metadata” about when

 9   the document was created and how it was transmitted or shared with the in-house attorney.
10
              17.   Following the parties’ conference, Plaintiff’s counsel sent an email to me and Ms.
11
     McFarland reiterating that he needs “metadata” for the privilege log “as contemplated by the
12
     Model ESI order.” Attached to my declaration as Exhibit H is a true and correct copy of the
13
     email.
14

15            18.   I responded to point out that the Model ESI agreement does not require provision

16   of metadata for purposes of a privilege log, it simply says that parties may use metadata to
17   generate a privilege log. I quoted the relevant language from the Model ESI agreement and
18
     linked the model agreement for easy reference. Attached to my declaration as Attached to my
19
     declaration as Exhibit I is a true and correct copy of the email.
20
              19.   Brand has already provided information about the date of the document, how it
21

22   was shared with the in-house attorney, and the context in which it was shared.

23   //

24   //
25   //
26   DECLARATION OF EMMA KAZARYAN IN SUPPORT OF
     DEFENDANT’S RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION                        SEYFARTH SHAW LLP
     TO COMPEL - 4                                                                     999 Third Avenue
                                                                                            Suite 4700
     (CAUSE NO. 2:21-CV-00754 MLP)                                                  Seattle, WA 98104-4041
                                                                                         (206) 946-4910
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 1          I declare under penalty of perjury under the laws of the United States of America that the
 2   foregoing is true and correct to the best of my knowledge.
 3
            Signed in Seattle, Washington this 3rd day of October, 2022.
 4
                                                         s/ Emma Kazaryan
 5                                                       Emma Kazaryan, WSBA No. 49885
 6

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26   DECLARATION OF EMMA KAZARYAN IN SUPPORT OF
     DEFENDANT’S RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION                      SEYFARTH SHAW LLP
     TO COMPEL - 5                                                                   999 Third Avenue
                                                                                          Suite 4700
     (CAUSE NO. 2:21-CV-00754 MLP)                                                Seattle, WA 98104-4041
                                                                                       (206) 946-4910
            Case 2:21-cv-00754-MLP           Document 38        Filed 10/03/22   Page 6 of 42




 1                                    CERTIFICATE OF SERVICE
 2          I hereby declare that on this 3rd day of October, 2022, I caused a copy of Declaration of

 3   Emma Kazaryan in Support of Defendant’s Response in Opposition to Plaintiff’s Motion to

 4   Compel to be electronically filed with the Court using ECF-Filing system which will send

 5   notification of such filing to the following:

 6          Alexander J. Higgins
 7          Law Offices of Alex J. Higgins
            2200 6th Avenue, Ste. 500
 8          Seattle, WA 98121
            P: (206) 340-4856
 9          alex@alexjhiggins.com
10          Cody Fenton- Robertson
            Bean Law Group
11
            2200 6th Avenue, Ste. 500
12          Seattle, WA 98121
            P: (206) 5220618
13          cody@beanlawgroup.com
14
                                                     s/ Valerie Macan
15                                                   Valerie Macan
16

17
18

19

20

21

22

23

24

25

26   DECLARATION OF EMMA KAZARYAN IN SUPPORT OF
     DEFENDANT’S RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION                      SEYFARTH SHAW LLP
     TO COMPEL - 6                                                                   999 Third Avenue
                                                                                          Suite 4700
     (CAUSE NO. 2:21-CV-00754 MLP)                                                Seattle, WA 98104-4041
                                                                                       (206) 946-4910
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                         Exhibit A
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          Deposition of Nannette Basa

      Basa v. Brand Shared Services, LLC

                          April 5, 2022




                 206.287.9066 l 800.846.6989
           1325 Fourth Avenue, Suite 1840, Seattle, Washington 98101
                           www.buellrealtime.com
                         email: info@buellrealtime.com
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 Basa v. Brand Shared Services, LLC                        Nannette Basa


                                                                   Page 1
                    UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF WASHINGTON
    ______________________________________________________

    NANNETTE BASA, an individual,    )
                                     )
             Plaintiff,              )
                                     )
          vs.                        )   CASE NO.:
                                     )   2:21-cv-00754 JLR
    BRAND SHARED SERVICES, LLC, a    )
    Delaware corporation,            )
                                     )
             Defendant.              )
                                     )
    ______________________________________________________
                   VIDEOCONFERENCE DEPOSITION UPON
                           ORAL EXAMINATION OF
                         NANNETTE BASA
    ______________________________________________________

                                 9:27 A.M.
                               APRIL 5, 2022
              WITNESS LOCATION:       SEATTLE, WASHINGTON


      (All participants appearing via videoconference.)




    REPORTED BY:     SALLY J. HANDS, CCR 2191



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                                                              343ebadd-a87c-42e3-8164-3ac544e858c9
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     Basa v. Brand Shared Services, LLC                        Nannette Basa


                                                                   Page 108
 1            A.   I took care of all of the accounting, all

 2     the -- and I worked with AP to make sure the vendors

 3     got paid.

 4            Q.   At some point, did you hire a vendor to work

 5     directly with VNDLY and make sure all these different

 6     contingent workers were paid?

 7            A.   They -- I think they got a managed service

 8     provider to take care of that.

 9            Q.   Do you know the name of that managed service

10     provider?

11            A.   nextSource.

12            Q.   When did they get nextSource?        Was it --

13            A.   It was after I left.

14            Q.   How did you know that they used nextSource to

15     start managing the contingent labor force?

16            A.   Because we had started talking about it while

17     I was still there.

18            Q.   Who were you talking about it with?

19            A.   Well, I don't know if I was talking about it.

20     Karen told me they were doing it.

21            Q.   What's your understanding of what nextSource

22     was going to do?

23            A.   They were going to act as a managed service

24     provider, the third-party that would take the part that

25     I was doing in the contingent labor program.


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     Basa v. Brand Shared Services, LLC                        Nannette Basa


                                                                   Page 115
 1            Q.   How many interviews do you think you were

 2     doing in the last six months that you were working for

 3     Brand?

 4            A.   How many interviews?

 5            Q.   (Nodding.)

 6            A.   I couldn't tell you.     But I would say, you

 7     know, I'm looking at thousands of resumes.            I'm talking

 8     to -- when I interview people, I would probably say

 9     there wasn't a day where I didn't interview at least

10     one person.

11            Q.   So you interviewed somebody at least every

12     day, you think, every day that you worked for

13     BrandSafway in the last --

14            A.   Absolutely.

15            Q.   -- six months?

16            A.   Yes.

17            Q.   Would those be contingent workers too?

18            A.   Could be.

19            Q.   Did anybody ever say anything negative to you

20     because of your race?

21            A.   No.

22            Q.   Anyone ever make fun of you because of your

23     race?

24            A.   No.

25            Q.   Did anyone ever make fun of you because of


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     Basa v. Brand Shared Services, LLC                         Nannette Basa


                                                                    Page 116
 1     your age?

 2            A.   No.

 3            Q.   Did anyone ever say anything negative to you

 4     related to your age?

 5            A.   Did you say "say"?

 6            Q.   Yes.

 7            A.   Say, no.

 8            Q.   Did anyone do anything nonverbal that you

 9     determined to be making fun of you because of your age?

10            A.   I don't know how to answer that.

11            Q.   Why not?

12            A.   Well, I think -- I'm data-driven.          And I look

13     at the data and I look how I was treated and I don't

14     know any other reason why.

15                         MR. HIGGINS:     I don't think she heard

16     your question.       But go ahead.

17            A.   Can you rephrase that question, then?

18            Q.   (BY MS. McFARLAND)       I believe my question was,

19     did anyone ever do anything that's a nonverbal

20     communication that you considered to be making fun of

21     you because of your age?

22            A.   Well, I think -- I think not ignoring -- when

23     you are ignoring someone and you don't take their input

24     is a reasoning.       When you don't know any other reason,

25     it is hard for me not to reflect and go, it was because


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     Basa v. Brand Shared Services, LLC                         Nannette Basa


                                                                    Page 168
 1     more of a stacking the deck with her friends, but just

 2     as crappy a thing to do to people who have worked for a

 3     company for as long as you."

 4                 And you respond:       "Yes, that's what I sort of

 5     thought, but April, Kristen, they were accepted."

 6                 This is April Wright?

 7            A.   Yeah.    That's where I kind of view things.

 8     April and Kristen were both under 30, and they got to

 9     stay.    They weren't laid off.

10            Q.   What's April's title now?

11            A.   Excuse me?

12            Q.   What's April's title?

13            A.   It was HR compliance.

14                 Oh, April.     I'm sorry.    April was HR

15     generalist.

16            Q.   Is that what she still is?

17            A.   She's no longer there.

18            Q.   When did she leave?

19            A.   I don't know.

20            Q.   Do you know if she was laid off?

21            A.   She's not laid off.

22            Q.   Do you know if she was terminated?

23            A.   She was not terminated.

24            Q.   How do you know?

25            A.   I talked -- she found a different job.


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     Basa v. Brand Shared Services, LLC                           Nannette Basa


                                                                      Page 169

1             Q.   What was April's race?

2             A.   She was white -- sorry.          April is black.

3             Q.   And Kristen, what's Kristen's title?

4             A.   She was an HR compliance analyst.

5             Q.   And is Kristen...?

6             A.   Della Sala.

7             Q.   Della Sala.      Okay.

8                  What's her race?

9             A.   I don't know.          She looks white.

10            Q.   Is she still with the company?

11            A.   No.

12            Q.   When did she leave?

13            A.   I don't know.

14            Q.   Do you know if she was terminated?

15            A.   I heard she was not.

16            Q.   Who did you hear that from?

17            A.   April.

18            Q.   When did you hear it from April about what

19     happened to Kristen?

20            A.   She's no longer there.

21            Q.   Did she tell you why she left?

22            A.   She left on her own.

23            Q.   Did she tell you why she left?

24            A.   No.    Okay.

25                          MS. McFARLAND:       Okay.    Let's go to


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     Basa v. Brand Shared Services, LLC                          Nannette Basa


                                                                     Page 173
 1            A.   And retained.

 2            Q.   And retained?

 3            A.   Yes.

 4            Q.   Are you aware of any hiring or termination

 5     decisions Brand made that contradict with your theory

 6     that you were fired due to your race or age?

 7            A.   Can you repeat that question?

 8            Q.   Are you aware of any hiring or termination

 9     decisions that Brand made that contradict your theory

10     that you were fired due to your race and age?

11            A.   No.

12            Q.   Are you aware of Brand retaining any employees

13     that were your age or older at the time you were laid

14     off?

15            A.   On the severance letter on that -- I'm sorry,

16     O -- what do you call that?          The list of those who were

17     chosen -- and I can't remember her name.               A coordinator

18     that was retained and she was black and older.               She was

19     an HR coordinator.

20            Q.   Did she work in Atlanta -- or in Georgia?

21            A.   Yes.

22            Q.   Are you aware of Brand hiring any employees

23     that were your age or older after you were laid off?

24            A.   No.

25            Q.   Do you know who Brand hired after you were


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     Basa v. Brand Shared Services, LLC                        Nannette Basa


                                                                   Page 175

1             A.   I don't know.

2                          MS. McFARLAND:     Let look at Exhibit 16.

3                          (Deposition Exhibit 16 was presented

4                           virtually and later marked.)

5             Q.   (BY MS. McFARLAND)       Do you recognize

6      Exhibit 16?

7             A.   Yes.    Another text between Jennifer Reardon

8      and I.

9             Q.   Okay.    This reads:     "The other thing is, um,

10     curious if they hired an older Asian Pacific Islander,

11     then does it hurt my discrimination part.             I mean from

12     a recruiter's perspective that's what I would

13     recommend."

14                 And then Jennifer said:       "I guess it would

15     depend on if they backfill at all."

16                 You added:      "They already added one a few

17     months ago, but not sure if he is a contractor or

18     hired."

19                 Do you know who you are referring there?

20            A.   That was Anita.

21            Q.   Anita who?

22            A.   I can't remember her last name.

23            Q.   How did you know Anita was hired?

24            A.   She was a contractor that had worked

25     previously.


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     Basa v. Brand Shared Services, LLC                         Nannette Basa


                                                                    Page 176
 1            Q.   And she was a person -- she was an Asian?

 2            A.   She was Asian, half Asian.

 3                         MS. McFARLAND:     Can we go to Exhibit 17,

 4     please.

 5                         (Deposition Exhibit 17 was presented

 6                          virtually and later marked.)

 7            Q.   (BY MS. McFARLAND)       Do you recognize

 8     Exhibit 17?       Do you recognize these texts?

 9            A.   Yes.

10            Q.   Who are they with?

11            A.   Kim Hunt.

12            Q.   Was Kim Hunt still working for Brand at the

13     time you were texting?

14            A.   No.

15            Q.   The first thing you -- was Kim laid off?

16            A.   No.    She was pushed out, though.

17            Q.   When was she pushed out?

18            A.   Around the same time of my layoff.

19            Q.   What do you mean, "She was pushed out"?

20            A.   They had given her -- she was getting pushed

21     down in the organization.          They had hired one person

22     over her and then another person over her.

23            Q.   Who was hired over her?

24            A.   First there was -- and I can't remember his

25     last name, Bjorn.       And then after that she was given


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     Basa v. Brand Shared Services, LLC                        Nannette Basa


                                                                   Page 186
 1                             C E R T I F I C A T E

 2
 3      STATE OF WASHINGTON

 4      COUNTY OF PIERCE

 5
 6               I, SALLY HANDS, a Certified Court Reporter in and

 7      for the State of Washington, do hereby certify that the

 8      foregoing transcript of the deposition of NANNETTE BASA,

 9      having been duly sworn, on April 5, 2022, is true and

10      accurate to the best of my knowledge, skill and ability.

11               IN WITNESS WHEREOF, I have hereunto set my hand

12      and seal this 31st day of May, 2022.

13
14
15
16
17                                ________________________
                                  Sally Hands, CCR 2191
18
19      My commission expires:

20      JANUARY 28th, 2023

21
22
23
24
25

                         BUELL REALTIME REPORTING, LLC
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                         Exhibit B
                                                                                                    Page 5 of 5
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                                               4/9/2021 10:13 AM
Connie Rogers (4042716706)

  Its feast or famine around here. Last week was fairly quite. This week I have 5
  companies interested in me. The Easter Seals is last on my list because its temp, but
  they needs someone next week. The other 4 are perm roles and as you know they
  may or may not end up filling the role. I had one today set up to interview me and
  they called to say they had a former employee take the role.

                                               4/9/2021 10:14 AM
                                                                                      Nannette’s iPhone (+14259510818)

                                                                        I sort of like being Dennis' trophy wife,

                                4/9/2021 10:16 AM (Viewed 9/9/2021 2:12 PM)
Connie Rogers (4042716706)

  Enjoy it and find the right job when you want to return to the rat race.

                               11/5/2021 11:56 AM (Viewed 11/5/2021 2:02 PM)
Connie Rogers (4042716706)

  Hi Nanette, Just letting you know I have changed jobs. I am now at BlueLinx in
  Marietta. EA to the CFO. Hopefully we can catch up soon.

                                               11/5/2021 2:03 PM
                                                                                      Nannette’s iPhone (+14259510818)

                                     EA is where you need to be. I hope you and your boss are a good team

                                               11/5/2021 2:38 PM
Connie Rogers (4042716706)

  I believe we will be great together. She previously worked for GE, so we both have
  the same mindset.

                                              11/15/2021 12:59 PM
                                                                                      Nannette’s iPhone (+14259510818)

                                                                                           Can I call you later?

                              11/15/2021 12:59 PM (Viewed 11/15/2021 1:49 PM)
Connie Rogers (4042716706)

  Yes. Any time


   You have 46 total messages and 4 total images.




                                                                                                                BASA_000688
file:///C:/Users/lohrd/AppData/Roaming/Decipher%20Media/dtm_msgs787000253981716... 2/19/2022
                                                                                                     Page 13 of 17
           Case 2:21-cv-00754-MLP              Document 38           Filed 10/03/22         Page 21 of 42


Kim Hunt (7179198399)


  ៲
  ៱

                                                6/30/2021 12:31 PM
                                                                                          Nannette’s iPhone (+14259510818)

                                 Actually I don’t care too much if I do or do not get a job. But, I’ll be open until
                                                                  September when my unemployment runs out

                                6/30/2021 12:32 PM (Viewed 6/30/2021 3:15 PM)
Kim Hunt (7179198399)

  Liked “Actually I don’t care too much if I do or do not get a job. But, I’ll be open until
  September when my unemployment runs out”

                                                 9/9/2021 2:06 PM
                                                                                          Nannette’s iPhone (+14259510818)

                                                       Hi your VM is full. Just an FYI, my attorney may call you

                                 9/9/2021 5:18 PM (Viewed 9/23/2021 9:25 AM)
Kim Hunt (7179198399)

  Ok

                                                9/28/2021 8:50 AM
                                                                                          Nannette’s iPhone (+14259510818)

                               Hi, could you call me when you have time? I wanted to get your insight on test
                               assessment data and using to target weaknesses - then decide if can provide
                         learning opportunities to overcome or something that should accept as weaknesses

                               10/19/2021 1:30 PM (Viewed 10/19/2021 1:31 PM)
Kim Hunt (7179198399)

  How is the job?

                                                10/19/2021 1:31 PM
                                                                                          Nannette’s iPhone (+14259510818)

                                                                         I’m contracting for Abbott’s MSP Tapfin

                                                10/19/2021 1:32 PM
                                                                                          Nannette’s iPhone (+14259510818)

                                                                                               Started 2 weeks ago

                                                10/19/2021 1:32 PM
                                                                                          Nannette’s iPhone (+14259510818)

                                                                                                            It’s good

                                                10/19/2021 1:32 PM




                                                                                                                    BASA_000819
file:///C:/Users/lohrd/AppData/Roaming/Decipher%20Media/dtm_msgs329565974709540... 2/19/2022
                                                                                                      Page 2 of 3
           Case 2:21-cv-00754-MLP                Document 38          Filed 10/03/22      Page 22 of 42


                                                                                 Sure...just checking in with you

                                                  1/22/2021 8:03 AM
                                                                                        Nannette’s iPhone (+14259510818)

                                     Am texting back and forth with Tiffany from VNDLY, can I reintroduce you to
                                                                 Shashank, their CEO. He knows a lot of people

                                    1/22/2021 8:59 AM (Viewed 1/22/2021 9:00 AM)
Thomas Yuhas (6308035737)

  Absolutely! Would love the opportunity to network with Shashank.

                                                  1/22/2021 9:02 AM
                                                                                        Nannette’s iPhone (+14259510818)

                                                   Can you email me your resume? Nannettekbasa@gmail.com

                                    1/26/2021 7:40 AM (Viewed 1/26/2021 9:02 AM)
Thomas Yuhas (6308035737)

  Hey Nannett! Just sent over my resume. Looking forward to connecting with you a
  Shashank.

                                    1/26/2021 7:40 AM (Viewed 1/26/2021 9:02 AM)
Thomas Yuhas (6308035737)

  Does he have any work for you?

                                                  1/26/2021 9:41 AM
                                                                                        Nannette’s iPhone (+14259510818)

                                 Short answer, no I didn't ask him for myself...and unemployment in the state of
                            Washington makes it relatively easy for me not to rush into something with the added
                                                                               benefit of being married to Dennis

                                                  3/30/2021 11:11 AM
Thomas Yuhas (6308035737)

  In a meeting. I'll call you back shortly

                                                  3/30/2021 11:12 AM
                                                                                        Nannette’s iPhone (+14259510818)

                                                               Ok, just checking up on both of our mental health

                                                  3/30/2021 2:17 PM
                                                                                        Nannette’s iPhone (+14259510818)

                            When you do call me back...remind me. I have some suggestions for you on your job
                                                                                                      search

                                                   5/4/2021 9:52 AM
                                                                                        Nannette’s iPhone (+14259510818)




                                                                                                                  BASA_000874
file:///C:/Users/lohrd/AppData/Roaming/Decipher%20Media/dtm_msgs140614421720085... 2/19/2022
          Case 2:21-cv-00754-MLP            Document 38        Filed 10/03/22      Page 23 of 42




1

2                                                      HONORABLE MICHELLE L. PETERSON

3

4

5

6
                                UNITED STATES DISTRICT COURT
7                         FOR THE WESTERN DISTRICT OF WASHINGTON

8
    NANNETTE BASA, an individual,                          Case No. 2:21-cv-00754 MLP
9
                                   Plaintiff,              DEFENDANT’S FIRST SET OF
1                                                          INTERROGATORIES AND REQUESTS
    v.                                                     FOR PRODUCTION TO PLAINTIFF
                                                           WITH ANSWERS AND OBJECTIONS
0   BRAND SHARED SERVICES, LLC, a                          THERERTO
    Delaware corporation,
1
                                   Defendant.
1
             Pursuant to Rules 33 and 34 of the Federal Rules of Civil Procedure, Defendant Brand
1
    Shared Services, LLC (“Brand”), by and through its undersigned attorneys of record, requests
2   that that Plaintiff Nannette Basa answer the following interrogatories and produce and permit

1   Brand or its representative to inspect, copy, test, or sample the items identified in the requests

3   below.

                                                DEFINITIONS
1
             The following definitions apply to these Interrogatories and Requests for Production:
4

1   DEFENDANT’S FIRST SET OF INTERROGATORIES
    AND REQUESTS FOR PRODUCTION TO PLAINTIFF                                      Law Offices of Alex J. Higgins
    WITH ANSWERS AND OBJECTIONS THERETO - 1                                          2200 6th Ave, Suite 500
5                                                                                      Seattle, WA 98121
                                                                                        (206) 340-4856

1
           Case 2:21-cv-00754-MLP         Document 38       Filed 10/03/22      Page 24 of 42




1
    Her search was open to jobs in all industries, not just industrial services. She applied to both
    contract and full time opportunities. She did not decline any jobs based on salary. In Oct. 2021,
2   she accepted a contract opportunity as a Resource Professional for Abbott at $30/hr.

3
    INTERROGATORY NO.7:                Please state with specificity all damages (including, without
    limitation, economic and non-economic damages) you are claiming in this lawsuit.
4
    ANSWER:
5
            Plaintiff seeks compensatory damages and punitive damages. The compensatory
6   damages include special damages for back pay and the value of lost health benefits, and general
    damages for emotional distress.
            Defendant paid Plaintiff a salary of $100,000/year. Defendant terminated Plaintiff’s
7   employment on December 8, 2020.
            Defendant hired Nicole Norris—an external candidate—on January 15, 2020. It is
8   believed she began work on or about February 17, 2020. Ms. Norris was paid a salary of
    $134,000, and was given a “sign on bonus” of $20,000. Plaintiff should have been hired into
9   this position. Therefore, Plaintiff calculates her back pay damages as beginning on February
    17, 2020.
            Plaintiff began employment paying more than $134,000/year on February 21, 2022.
1   Therefore, Plaintiff has two years of damages totaling $288,000 before factoring for interim
    earnings.
0           From February 17, 2020, until December 8, 2020, Plaintiff continued to work for
    Defendant at a salary of $100,000. During this 42-week period, Plaintiff earned an estimated
1   $80,770.
            From September 27, 2021, until February 18, 2022, Plaintiff worked as a contractor
    for Prokatchers LLC. She earned $14,400 in that role in calendar year 2021, and earned an
1   additional 10,027.50 in 2022.
            Accounting for the above interim earnings, Plaintiff’s back pay damages are
1   $182,802.50.
            Defendant offered Plaintiff a 401k with employer matching contributions. Plaintiff
2   does not currently have specific details for the 401k, but Plaintiff intends to claim the
    employer-match amount as damages.
            Damages for emotional distress cannot be calculated with precision.
1           Punitive damages are to be determined by the trier of fact.

3

1

4

1
    DEFENDANT’S FIRST SET OF INTERROGATORIES
    AND REQUESTS FOR PRODUCTION TO PLAINTIFF - 8                                   SEYFARTH SHAW LLP
5                                                                                   Attorneys at Law
                                                                                    999 Third Avenue
                                                                                        Suite 4700
                                                                                 Seattle, WA 98104-4041
                                                                                      (206) 946-4910
1   79036524v.1
Case 2:21-cv-00754-MLP   Document 38   Filed 10/03/22   Page 25 of 42
Case 2:21-cv-00754-MLP   Document 38   Filed 10/03/22   Page 26 of 42
Case 2:21-cv-00754-MLP   Document 38   Filed 10/03/22   Page 27 of 42




                         Exhibit D
                          Case 2:21-cv-00754-MLP       Document 38      Filed 10/03/22    Page 28 of 42




                                                         Basa v. Brand
                                                    Defendant’s Privilege Log

      Document        Date of
No.                                                       Description                               Category of Privilege
        Type        Document
                  Ongoing since
                                   Emails between Brand employees and Seyfarth Shaw related        Attorney-Client privilege,
 1     Emails      approximately
                                               to Nannette Basa and this litigation                 Work Product privilege
                       2021
                  Ongoing since     Emails between Brand in-house counsel (including, without
                                                                                                   Attorney-Client privilege,
 2     Emails      approximately   limitation, Theresa Mcdaniel and Gareth Carline) and Brand
                                                                                                    Work Product privilege
                       2021            employees related to Nannette Basa and this litigation
                     No date;
                    provided to
                                    Timeline prepared by Brand employee(s) for Seyfarth Shaw       Attorney-Client privilege,
 3    Timeline     counsel in or
                                                   for purposes of this litigation                  Work Product privilege
                      around
                  December 2021
      Corporate                     Corporate RIF Worksheet prepared by Brand employee(s) in
                   December 4,
 4      RIF                            anticipation of discussion with Brand in-house counsel      Attorney-Client privilege
                      2020
      Worksheet                                      regarding reduction-in-force
                                   Emails between Brand employees and Brand in-house counsel
                                     (including, without limitation, Rachel Retzke and Ashley
 5     Emails       2019-2020                                                                      Attorney-Client privilege
                                     Merritt) regarding various third-party partner and vendor
                                                               contracts
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                         Exhibit E
               Case 2:21-cv-00754-MLP                 Document 38   Filed 10/03/22   Page 30 of 42


Kazaryan, Emma J.

From:                              Alexander Higgins <alex@alexjhiggins.com>
Sent:                              Monday, September 12, 2022 3:08 PM
To:                                Kazaryan, Emma J.; Cody Fenton-Robertson
Cc:                                McFarland, Helen M.
Subject:                           Re: Basa v. Brand -- Privilege Log

Categories:                        Done




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Emma,

This is not adequate. With regards to privileged communications on or about December 4, 2020, please
provide the names of the lawyers and the names of the Brand representatives who were privy (either as
addressees or ccs) on the communications, along with the mode of communication (e.g., emails, Teams,
texts) and the dates.

I’m not sure we need that level of detail with the other privileged communications, but I doubt it.

-Alex



Law Offices of Alex J. Higgins
Labor & Employment Law
2200 Sixth Ave., Suite 500
Seattle, WA 98121
206.340.4856
206.518.3698 (mobile)
206.260.8803 (fax)
alex@alexjhiggins.com
www.alexjhiggins.com [alexjhiggins.com]

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this communication in error, please notify this firm immediately by reply to this communication.




                                                             1
                                                                                            Case 2:21-cv-00754-MLP                                                 Document 38   Filed 10/03/22   Page 31 of 42

From: "Kazaryan, Emma J." <ekazaryan@seyfarth.com>
Date: Friday, September 9, 2022 at 4:48 PM
To: Alexander Higgins <alex@alexjhiggins.com>, Cody Fenton-Robertson
<cody@beanlawgroup.com>
Cc: "McFarland, Helen M." <hmcfarland@seyfarth.com>
Subject: Basa v. Brand -- Privilege Log



Good afternoon Alex and Cody,

Please find attached Brand’s privilege log and please let me know if you have any questions or concerns.

Best,
Emma


Emma Kazaryan | Associate | Seyfarth Shaw LLP
999 Third Avenue | Suite 4700 | Seattle, Washington 98104-4041
Direct: +1-206-946-4978 | Mobile: +1-206-883-4584 | Fax: +1-206-299-9664
ekazaryan@seyfarth.com | http://www.seyfarth.com
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                                                                                                                                                                          2
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                         Exhibit F
               Case 2:21-cv-00754-MLP                 Document 38   Filed 10/03/22   Page 33 of 42


Kazaryan, Emma J.

From:                              Alexander Higgins <alex@alexjhiggins.com>
Sent:                              Monday, September 19, 2022 8:10 AM
To:                                Kazaryan, Emma J.; Cody Fenton-Robertson
Cc:                                McFarland, Helen M.
Subject:                           Re: Basa v. Brand -- Privilege Log

Categories:                        Done




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Emma,

I have waited for a week to hear your response to my email below. Please advise.

-Alex

Law Offices of Alex J. Higgins
Labor & Employment Law
2200 Sixth Ave., Suite 500
Seattle, WA 98121
206.340.4856
206.518.3698 (mobile)
206.260.8803 (fax)
alex@alexjhiggins.com
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From: Alexander Higgins <alex@alexjhiggins.com>
Date: Monday, September 12, 2022 at 3:08 PM
To: "Kazaryan, Emma J." <ekazaryan@seyfarth.com>, Cody Fenton-Robertson
<cody@beanlawgroup.com>
Cc: "McFarland, Helen M." <hmcfarland@seyfarth.com>
Subject: Re: Basa v. Brand -- Privilege Log


                                                             1
              Case 2:21-cv-00754-MLP            Document 38         Filed 10/03/22       Page 34 of 42

Emma,

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provide the names of the lawyers and the names of the Brand representatives who were privy (either as
addressees or ccs) on the communications, along with the mode of communication (e.g., emails, Teams,
texts) and the dates.

I’m not sure we need that level of detail with the other privileged communications, but I doubt it.

-Alex



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2200 Sixth Ave., Suite 500
Seattle, WA 98121
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alex@alexjhiggins.com
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this communication in error, please notify this firm immediately by reply to this communication.




From: "Kazaryan, Emma J." <ekazaryan@seyfarth.com>
Date: Friday, September 9, 2022 at 4:48 PM
To: Alexander Higgins <alex@alexjhiggins.com>, Cody Fenton-Robertson
<cody@beanlawgroup.com>
Cc: "McFarland, Helen M." <hmcfarland@seyfarth.com>
Subject: Basa v. Brand -- Privilege Log



Good afternoon Alex and Cody,

Please find attached Brand’s privilege log and please let me know if you have any questions or concerns.

Best,
Emma


Emma Kazaryan | Associate | Seyfarth Shaw LLP
999 Third Avenue | Suite 4700 | Seattle, Washington 98104-4041


                                                           2
                                                                                            Case 2:21-cv-00754-MLP                                                 Document 38   Filed 10/03/22   Page 35 of 42
Direct: +1-206-946-4978 | Mobile: +1-206-883-4584 | Fax: +1-206-299-9664
ekazaryan@seyfarth.com | http://www.seyfarth.com
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                                                                                                                                                                          3
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                         Exhibit G
                        Case 2:21-cv-00754-MLP           Document 38       Filed 10/03/22     Page 37 of 42
                                                           Basa v. Brand
                                                      Defendant’s Privilege Log
      Document        Date of
No.                                                              Description                                   Category of Privilege
        Type        Document
                  Ongoing since
                                       Emails between Brand employees and Seyfarth Shaw related to            Attorney-Client privilege,
1      Emails      approximately
                                                     Nannette Basa and this litigation                         Work Product privilege
                       2021
                  Ongoing since           Emails between Brand in-house counsel (including, without
                                                                                                              Attorney-Client privilege,
2      Emails      approximately         limitation, Theresa Mcdaniel and Gareth Carline) and Brand
                                                                                                               Work Product privilege
                       2021                  employees related to Nannette Basa and this litigation
                     No date;
                    provided to
                                       Timeline prepared by Brand employee(s) for Seyfarth Shaw for           Attorney-Client privilege,
3     Timeline     counsel in or
                                                         purposes of this litigation                           Work Product privilege
                      around
                  December 2021
                                    Corporate RIF Worksheet prepared by Brand employee for Brand
                                   in-house counsel seeking legal guidance on 2020 reduction-in-force

                                   •         Author of the worksheet: Michelle Roman;

                                   •         Name of the in-house attorney: Theresa McDaniel;
      Corporate
                   December 4,
4       RIF                                                                                                   Attorney-Client privilege
                      2020         •       Nature of the advice sought: The worksheet identified the
      Worksheet
                                   employees who had been selected for layoff and information about
                                   why each employee was selected. The worksheet was created to
                                   relay information to legal counsel and evaluate legal risk related to
                                   the layoff decisions.


                                         Emails between Brand employees and Brand in-house counsel
5      Emails       2019-2020          (including, without limitation, Rachel Retzke and Ashley Merritt)      Attorney-Client privilege
                                           regarding various third-party partner and vendor contracts.
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                         Exhibit H
               Case 2:21-cv-00754-MLP                 Document 38   Filed 10/03/22      Page 39 of 42


Kazaryan, Emma J.

From:                              Alexander Higgins <alex@alexjhiggins.com>
Sent:                              Monday, October 3, 2022 3:51 PM
To:                                McFarland, Helen M.; Kazaryan, Emma J.
Cc:                                Cody Fenton-Robertson
Subject:                           Re: Basa v. Brand: Depositions and CR 37 on Defendant's Supplemental Answers to
                                   Plaintiff's Third Discovery




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Helen and Emma,

I am writing to confirm the discussion today.

Depositions.

As for our additional depositions of (Mike Krach and Heather Morrison), you are agreeable given that
these will be quite short. Please provide us with possible dates. (We could do them the same day as Meg
Newman.)

Also, please send over available dates for the 30b6.

Motion on Spoliation.
      - You report that you have previously looked and have not found anything.
      - I pointed out that Michelle Roman’s testimony was that she did not search until July 2022. As
          of June 13, 2022, Ms. Riapos had not searched.
      - So, I asked when you preserved text messages. You responded that the date is “privileged.” I
          disagreed.
      - You also acknowledged that Rod B’s responsive text messages were not preserved but you are
          trying to recover those.
      - You are also trying to find Rob B’s supervisory file.

Motion to Compel (Privilege Log)
      You wanted to know if your revised log was sufficient. I said that we still need the meta-data as
contemplated by the Model ESI order. You also indicated that the worksheet was not electronically
transmitted but it was hand-delivered to Theresa McDaniel. I reiterated the “dual-purpose” principle and
that we cannot tell whether the worksheet was for the primary purpose of seeking legal advice given
what we have so far.

I also pointed out that the lack of documentation about the reason for Ms. Basa’s selection for layoff
makes this document particularly important.

Rogs 8 and 9.
      Combative communications.
                                                             1
             Case 2:21-cv-00754-MLP           Document 38        Filed 10/03/22     Page 40 of 42

      Untimely work product.

You reported that you are working on supplementing that with more detail.

Thanks,
Alex



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Seattle, WA 98121
206.340.4856
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206.260.8803 (fax)
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this communication in error, please notify this firm immediately by reply to this communication.




From: Alexander Higgins <alex@alexjhiggins.com>
Date: Wednesday, September 28, 2022 at 12:22 PM
To: "McFarland, Helen M." <hmcfarland@seyfarth.com>, "Kazaryan, Emma J." <ekazaryan@seyfarth.com>
Cc: Cody Fenton-Robertson <cody@beanlawgroup.com>
Subject: Re: Basa v. Brand: Depositions and CR 37 on Defendant's Supplemental Answers to Plaintiff's Third
Discovery

Helen and Emma,

    1. Depositions.
In light of the court’s order moving the discovery cutoff another 30 days, I am not going to take any part
of the 30(b)(6) tomorrow.

We will proceed with Mr. Dolly today at 2pm and then Mr. Fisher tomorrow at 11am.

In light of the court’s ruling, please give us dates for Ms. Newman and the 30b6 topics permitted by the
Court.

   2. Meet and confer follow up from yesterday on Rogs 8 and 9.

Please provide an update when you can.

   3. Meet and confer as ordered by the court today.

                                                        2
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                           Exhibit I
                                       Case 2:21-cv-00754-MLP               Document 38        Filed 10/03/22        Page 42 of 42


Kazaryan, Emma J.

From:                                                       Kazaryan, Emma J.
Sent:                                                       Monday, October 3, 2022 4:45 PM
To:                                                         'Alexander Higgins'; McFarland, Helen M.
Cc:                                                         Cody Fenton-Robertson
Subject:                                                    RE: Basa v. Brand: Depositions and CR 37 on Defendant's Supplemental Answers to
                                                            Plaintiff's Third Discovery


Good afternoon Alex,

Two notes on the summary below:
    With regard to the supplemental privilege log, I don’t think the Model ESI agreement requires provision of
       metadata, it just says that we can use metadata to generate the privilege log: “For ESI, the privilege log may be
       generated using available metadata, including author/recipient or to/from/cc/bcc names; the subject matter or
       title; and date created. Should the available metadata provide insufficient information for the purpose of
       evaluating the privilege claim asserted, the producing party shall include such additional information as required
       by the Federal Rules of Civil Procedure.” (Emphasis added; linking the ModelESIAgreement.pdf (uscourts.gov)
       here for your easy reference). We have already provided information about the date of the document, how it
       was shared with the in-house attorney, and the context in which it was shared and I don’t think there is more to
       add here. Can you please take a look and let us know if you agree to strike the motion to compel?

                                As Helen said with regard to Rod’s file, our client has conducted a diligent search for the file (which we think
                                 would be helpful to us) but, despite best efforts, has been unable to find it.

Best,
Emma

From: Alexander Higgins <alex@alexjhiggins.com>
Sent: Monday, October 3, 2022 3:51 PM
To: McFarland, Helen M. <hmcfarland@seyfarth.com>; Kazaryan, Emma J. <ekazaryan@seyfarth.com>
Cc: Cody Fenton-Robertson <cody@beanlawgroup.com>
Subject: Re: Basa v. Brand: Depositions and CR 37 on Defendant's Supplemental Answers to Plaintiff's Third Discovery
ZjQcmQRYFp fptBa nnerStart




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ZjQcmQRYFp fptBa nnerE nd




Helen and Emma,

I am writing to confirm the discussion today.

Depositions.

As for our additional depositions of (Mike Krach and Heather Morrison), you are agreeable given that
these will be quite short. Please provide us with possible dates. (We could do them the same day as Meg
Newman.)


                                                                                      1
